      Case 1:20-cv-00224-NT Document 1 Filed 06/23/20 Page 1 of 3                 PageID #: 1




                             UNITED STATES DISTRICT COURT
                                     District of Maine


                                                   )
 WALTER J. DYER, Personal Representative           )    Docket No.
 of the Estate of JENNIFER M. DYER,                )
                       Plaintiff                   )
                                                   )
 v.                                                )
                                                   )
 PENOBSCOT COUNTY, PENOBSCOT                       )
 COUNTY SHERIFF’S OFFICE,                          )
 PENOBSCOT COUNTY JAIL, NICHOLAS                   )
 MITTON, TROY MORTON, LOUIS ST.                    )
 PIERRE, JASON RAYMOND, and
 CHRISTOPHER WILSON,                               )
                      Defendants                   )
                                                   )

                                    NOTICE OF REMOVAL

         NOW COME Defendants, by and through undersigned counsel, pursuant to the provisions

of 28 U.S.C. §§ 1331 and 1446, and hereby remove the above-entitled matter to the United States

District Court for the District of Maine.      Removal is permissible because federal question

jurisdiction exists by virtue of Plaintiff’s claims under 42 U.S.C. § 1983.

         This Notice of Removal is timely pursuant to the provisions of 28 U.S.C. § 1446(b) because

this removal is being effected within 30 days after these Defendants received the Summons and

Complaint.

         In conformity with 28 U.S.C. § 1446(9), copies of the Penobscot County Superior Court

Docket Sheet and all state court filings are attached hereto.

Dated: June 23, 2020                                     /s/ Peter T. Marchesi
                                                       Peter T. Marchesi, Esq.
Case 1:20-cv-00224-NT Document 1 Filed 06/23/20 Page 2 of 3        PageID #: 2




                                       /s/ Cassandra S. Shaffer
                                      Cassandra S. Shaffer, Esq.

                                      Wheeler & Arey, P.A.
                                      Attorneys for Defendants
                                      27 Temple Street
                                      Waterville, ME 04901
      Case 1:20-cv-00224-NT Document 1 Filed 06/23/20 Page 3 of 3                    PageID #: 3




                             UNITED STATES DISTRICT COURT
                                     District of Maine


                                                    )
 WALTER J. DYER, Personal Representative            )    Docket No.
 of the Estate of JENNIFER M. DYER,                 )
                       Plaintiff                    )
                                                    )
 v.                                                 )
                                                    )
 PENOBSCOT COUNTY, PENOBSCOT                        )
 COUNTY SHERIFF’S OFFICE,                           )
 PENOBSCOT COUNTY JAIL, NICHOLAS                    )
 MITTON, TROY MORTON, LOUIS ST.                     )
 PIERRE, JASON RAYMOND, and
 CHRISTOPHER WILSON,                                )
                      Defendants                    )
                                                    )

                                  CERTIFICATE OF SERVICE

         I, Peter T. Marchesi, Esq., attorney for Defendants, hereby certify that:

         ●      Notice of Removal

has been served this day on Plaintiff by filing with the Clerk of Court using the CM/ECF system
which will send notification of such filing(s) to the following:

                Jodi L. Nofsinger Esq.         NofsingerService@bermansimmons.com
                Adam J. Arguelles, Esq.        ArguellesService@bermansimmons.com


Dated: June 23, 2020                                      /s/ Peter T. Marchesi
                                                        Peter T. Marchesi, Esq.
                                                        Wheeler & Arey, P.A.
                                                        Attorneys for Defendants
                                                        27 Temple Street
                                                        Waterville, ME 04901
